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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               LEWIS T. BABCOCK, JUDGE


  Civil Case No. 12-cv-00233-LTB-KMT

  STEVEN RAYMOND ST. MARIE,

                Plaintiff,

  v.

  WESTERN ELECTRICITY COORDINATING COUNCIL,

             Defendant.
  ________________________________________________________________________

                                   ORDER
  ________________________________________________________________________


         THIS MATTER having come before the Court on the Joint Stipulation of Dismissal

  With Prejudice (Doc 16 - filed December 3, 2012), and the Court being fully advised in the

  premises, it is therefore

         ORDERED that this matter shall be DISMISSED WITH PREJUDICE, each party to

  pay their own fees and costs.


                                                  BY THE COURT:


                                                    s/Lewis T. Babcock
                                                  Lewis T. Babcock, Judge

  DATED:     December 4, 2012
